Case 4:20-cv-10682-MFL-DRG ECF No. 29, PageID.747 Filed 10/27/21 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ROBERT W. FRAYER, JR.,

             Plaintiff,                             Case No. 20-cv-10682
                                                    Hon. Matthew F. Leitman
v.

NSF INTERNATIONAL,

          Defendant.
__________________________________________________________________/

      AMENDED ORDER DIRECTING PLAINTIFF TO FILE RESPONSE
     IDENTIFYING RELEVANT PAGES OF DEPOSITION TRANSCRIPT

       On October 15, 2021, the Court held a video status conference regarding

Plaintiff Robert W. Frayer, Jr.’s currently-pending motion to compel discovery. (See

Mot., ECF No. 23.) During that conference, the Court directed Defendant NSF

International to file on the Court’s docket the deposition transcript of witness Lori

Bestervelt and to identify the pages of Ms. Bestervelt’s deposition that NSF believed

are relevant to Frayer’s motion. On October 26, 2021, NSF complied with the

Court’s direction and filed a highlighted copy of Ms. Bestervelt’s deposition. (See

Bestervelt Dep. Tr., ECF No. 27.)




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Case 4:20-cv-10682-MFL-DRG ECF No. 29, PageID.748 Filed 10/27/21 Page 2 of 2




      IT IS HEREBY ORDERED that by no later than November 5, 2021,1 Frayer

shall file a notice with the Court identifying the pages of Ms. Bestervelt’s deposition

that he believes are relevant to his motion to compel.


                                        s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: October 27, 2021


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on October 27, 2021, by electronic means and/or
ordinary mail.

                                        s/Holly A. Monda
                                        Case Manager
                                        (810) 341-9764




1
 In the Court’s initial order (see ECF No. 28), it incorrectly listed this due date as
October 5, 2021. The correct date, as listed above, for Frayer to identify the relevant
pages of Ms. Bestervelt’s deposition is November 5, 2021.

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